Fill in this information to identify your case:

Debtor 1                  Bogdan Maksimchuk
                          First Name                  Middle Name                   Last Name

Debtor 2                  Nadezhda Maksimchuk
(Spouse if, filing)       First Name                  Middle Name                   Last Name


United States Bankruptcy Court for the:          WESTERN DISTRICT OF WASHINGTON

Case number           23-10885
(if known)
                                                                                                                                       Check if this is an
                                                                                                                                          amended filing



Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                          04/22
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

Part 1:        Give Details About Your Marital Status and Where You Lived Before

1.    What is your current marital status?

             Married
       Not married
2.    During the last 3 years, have you lived anywhere other than where you live now?

       No
             Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

       Debtor 1:                                          Dates Debtor 1               Debtor 2 Prior Address:                               Dates Debtor 2
                                                          lived there                                                                        lived there
       2906 74th Ave SE                                   From-To:                      Same as Debtor 1                                      Same as Debtor 1
       Mercer Island, WA 98040                            7/22 - 7/23                                                                        From-To:



       9104 SE 50th St.                                   From-To:                      Same as Debtor 1                                      Same as Debtor 1
       Mercer Island 98040                                4/19 - 7/22                                                                        From-To:




3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property
states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington and Wisconsin.)

       No
             Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).

Part 2         Explain the Sources of Your Income

4.    Did you have any income from employment or from operating a business during this year or the two previous calendar years?
      Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
      If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

       No
             Yes. Fill in the details.

                                               Debtor 1                                                       Debtor 2
                                               Sources of income               Gross income                   Sources of income               Gross income
                                               Check all that apply.           (before deductions and         Check all that apply.           (before deductions
                                                                               exclusions)                                                    and exclusions)
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Debtor 2     Nadezhda Maksimchuk                                                                       Case number (if known)   23-10885

                                                Debtor 1                                                       Debtor 2
                                                Sources of income               Gross income                   Sources of income            Gross income
                                                Check all that apply.           (before deductions and         Check all that apply.        (before deductions
                                                                                exclusions)                                                 and exclusions)

From January 1 of current year until             Wages, commissions,                      $225,869.00          Wages, commissions,                       $0.00
the date you filed for bankruptcy:              bonuses, tips                                                  bonuses, tips

                                                 Operating a business                                          Operating a business
For last calendar year:                          Wages, commissions,                      $325,362.00          Wages, commissions,                       $0.00
(January 1 to December 31, 2022 )               bonuses, tips                                                  bonuses, tips

                                                 Operating a business                                          Operating a business
For the calendar year before that:               Wages, commissions,                      $222,200.00          Wages, commissions,                       $0.00
(January 1 to December 31, 2021 )               bonuses, tips                                                  bonuses, tips

                                                 Operating a business                                          Operating a business

5.   Did you receive any other income during this year or the two previous calendar years?
     Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security, unemployment,
     and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and gambling and lottery
     winnings. If you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

     List each source and the gross income from each source separately. Do not include income that you listed in line 4.

          No
      Yes. Fill in the details.
                                                Debtor 1                                                       Debtor 2
                                                Sources of income               Gross income from              Sources of income            Gross income
                                                Describe below.                 each source                    Describe below.              (before deductions
                                                                                (before deductions and                                      and exclusions)
                                                                                exclusions)

Part 3:     List Certain Payments You Made Before You Filed for Bankruptcy

6.   Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?
          No.      Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
                    individual primarily for a personal, family, or household purpose.”

                    During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $7,575* or more?
                     No.       Go to line 7.
                     Yes       List below each creditor to whom you paid a total of $7,575* or more in one or more payments and the total amount you
                                paid that creditor. Do not include payments for domestic support obligations, such as child support and alimony. Also, do
                                not include payments to an attorney for this bankruptcy case.
                    * Subject to adjustment on 4/01/25 and every 3 years after that for cases filed on or after the date of adjustment.
      Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
                    During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                     No.       Go to line 7.
                     Yes       List below each creditor to whom you paid a total of $600 or more and the total amount you paid that creditor. Do not
                                include payments for domestic support obligations, such as child support and alimony. Also, do not include payments to an
                                attorney for this bankruptcy case.


      Creditor's Name and Address                          Dates of payment              Total amount          Amount you       Was this payment for ...
                                                                                                 paid            still owe




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Debtor 2     Nadezhda Maksimchuk                                                                 Case number (if known)   23-10885

      Creditor's Name and Address                     Dates of payment             Total amount          Amount you       Was this payment for ...
                                                                                           paid            still owe
      Bank of America                                 5/3/23 $7851;                 $17,565.39             $3,445.13       Mortgage
      POB 672050                                      4/4/23 $5000;                                                        Car
      Dallas, TX 75267-2050                           3/16/23 $4714.39                                                     Credit Card
                                                                                                                           Loan Repayment
                                                                                                                           Suppliers or vendors
                                                                                                                           Other

      American Express                                2/27/23                       $21,917.33           $48,677.63        Mortgage
      POB 981535                                      $11,917.33; 3/6                                                      Car
      El Paso, TX 79998                               10,000.00                                                            Credit Card
                                                                                                                           Loan Repayment
                                                                                                                           Suppliers or vendors
                                                                                                                           Other

      Altzec Flooring                                 3/23/23. Bill paid            $10,295.81                  $0.00      Mortgage
                                                      from personal                                                        Car
                                                      account. Is a                                                        Credit Card
                                                      Columbia City                                                        Loan Repayment
                                                      Living LLC debt.
                                                                                                                           Suppliers or vendors
                                                      Funds transferred
                                                      from CCL account
                                                                                                                           Other
                                                      to cover expense

      Forest Roman                                    3/23/23. Bill paid              $9,750.00                 $0.00      Mortgage
                                                      from personal                                                        Car
                                                      account. Is a                                                        Credit Card
                                                      Columbia City                                                        Loan Repayment
                                                      Living LLC debt.                                                     Suppliers or vendors
                                                      Funds transferred
                                                      from CCL account
                                                                                                                           Other
                                                      to cover expense


7.   Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
     Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner; corporations
     of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing agent, including one for
     a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations, such as child support and
     alimony.

          No
      Yes. List all payments to an insider.
      Insider's Name and Address                      Dates of payment             Total amount          Amount you       Reason for this payment
                                                                                           paid            still owe

8.   Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an
     insider?
     Include payments on debts guaranteed or cosigned by an insider.

          No
      Yes. List all payments to an insider
      Insider's Name and Address                      Dates of payment             Total amount          Amount you       Reason for this payment
                                                                                           paid            still owe      Include creditor's name




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Debtor 2     Nadezhda Maksimchuk                                                                     Case number (if known)    23-10885

Part 4:     Identify Legal Actions, Repossessions, and Foreclosures

9.   Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
     List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody
     modifications, and contract disputes.

      No
          Yes. Fill in the details.
      Case title                                         Nature of the case           Court or agency                          Status of the case
      Case number
      Parr Lumber co v. Barcelo                          lien foreclosure             King Co Superior Court                    Pending
      Development Inc et al                                                           516 Third Ave                             On appeal
      23-2-02290-4                                                                    Seattle, WA 98104                         Concluded

      Koa et al v. Maksimchuk                            Collection                   King County Superior Court                Pending
      23-2-00103-6                                                                                                              On appeal
                                                                                                                                Concluded

      NWBF v. Barcelo Homes et al                        Breach of                    King County Superior                      Pending
      22-2-06827-2                                       Contract                     COurt                                     On appeal
                                                                                                                                Concluded

      NWBF v. Maksimchuk et al                           Appointment of               King County Superior Court                Pending
      23-2-04761-3                                       Receiver                                                               On appeal
                                                                                                                                Concluded


10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
    Check all that apply and fill in the details below.

      No. Go to line 11.
          Yes. Fill in the information below.
      Creditor Name and Address                          Describe the Property                                          Date                        Value of the
                                                                                                                                                       property
                                                         Explain what happened
      Northwest Building Finance                         Business debt                                                  3/1/2023                     Unknown
      13555 SE 36th St. #320                             Judgment Entered 1/9/2023
      Bellevue, WA 98006                                 Charging Orders entered 3/1/2023

                                                          Property was repossessed.
                                                          Property was foreclosed.
                                                          Property was garnished.
                                                          Property was attached, seized or levied.

11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
    accounts or refuse to make a payment because you owed a debt?
          No
      Yes. Fill in the details.
      Creditor Name and Address                          Describe the action the creditor took                          Date action was                Amount
                                                                                                                        taken

12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of creditors, a
    court-appointed receiver, a custodian, or another official?

          No
      Yes

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Part 5:     List Certain Gifts and Contributions

13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?
     No
          Yes. Fill in the details for each gift.
      Gifts with a total value of more than $600                   Describe the gifts                                       Dates you gave                Value
      per person                                                                                                            the gifts

      Person to Whom You Gave the Gift and
      Address:
      Elvira Maksimchuk                                            2017 Mercedes CLA. Was traded to                         2/2022                  $33,000.00
                                                                   Chevrolet of South Anchorage, 9100
                                                                   Old Seward Hwy, Anchorage AK 99515
      Person's relationship to you:

      Grandchildren                                                Stroller, playground equipment                                                    $2,400.00


      Person's relationship to you:


14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?
     No
          Yes. Fill in the details for each gift or contribution.
      Gifts or contributions to charities that total               Describe what you contributed                            Dates you                     Value
      more than $600                                                                                                        contributed
      Charity's Name
      Address (Number, Street, City, State and ZIP Code)
      Slavic Gospel Church                                         Monthly Tithe                                            Monthly                  $2,400.00
      3405 South 336th
      Federal Way, WA 98001


Part 6:     List Certain Losses

15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster,
    or gambling?

          No
      Yes. Fill in the details.
      Describe the property you lost and                 Describe any insurance coverage for the loss                       Date of your       Value of property
      how the loss occurred                              Include the amount that insurance has paid. List pending           loss                            lost
                                                         insurance claims on line 33 of Schedule A/B: Property.

Part 7:     List Certain Payments or Transfers

16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you
    consulted about seeking bankruptcy or preparing a bankruptcy petition?
    Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

      No
          Yes. Fill in the details.
      Person Who Was Paid                                          Description and value of any property                    Date payment             Amount of
      Address                                                      transferred                                              or transfer was           payment
      Email or website address                                                                                              made
      Person Who Made the Payment, if Not You
      Bush Kornfeld                                                Fee Deposit                                                                      $55,000.00
      601 Union St. 5000
      Seattle, WA 98101




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      Person Who Was Paid                                  Description and value of any property                    Date payment             Amount of
      Address                                              transferred                                              or transfer was           payment
      Email or website address                                                                                      made
      Person Who Made the Payment, if Not You
      The Tracy Law Group PLLC                             Fee Deposit                                              $7,500.00 on            $32,500.00
      1601 Fifth Ave., Ste 610                                                                                      4/13/2023
      Seattle, WA 98101                                                                                             $25,000.00 on
                                                                                                                    5/12/2023


17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
    promised to help you deal with your creditors or to make payments to your creditors?
    Do not include any payment or transfer that you listed on line 16.

          No
      Yes. Fill in the details.
      Person Who Was Paid                                  Description and value of any property                    Date payment             Amount of
      Address                                              transferred                                              or transfer was           payment
                                                                                                                    made

18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
    transferred in the ordinary course of your business or financial affairs?
    Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property). Do not
    include gifts and transfers that you have already listed on this statement.
     No
          Yes. Fill in the details.
      Person Who Received Transfer                         Description and value of                   Describe any property or        Date transfer was
      Address                                              property transferred                       payments received or debts      made
                                                                                                      paid in exchange
      Person's relationship to you
      Prestige Motorgroup LLC                              2023 Lamborghini Huracan,                  Payoff of secured debt          5/12/2023
      1825 Howard Rd                                       White, VIN                                 on vehicle owed to
      Auburn, WA 98002                                     ZHWUA6ZX6PLA22444. Sale                    Lamborghini Financial
                                                           Price $362,511.62                          Services in amount of
                                                                                                      $362,511.62

      Aniruddha Gadre and Rupa Gadre                       Real property located at                   Purchase price of               6/30/2022
      9104 SE 50th St.                                     9104 SE 50th St., Mercer                   $7,150,000. From net
      Mercer Island, WA 98040                              Island, WA 98040                           sale proceeds, between
                                                                                                      June 30 and February 6,
                                                                                                      2023, Debtors
                                                                                                      contributed $1,466,000
                                                                                                      to Barcelo Homes LLC,
                                                                                                      $312,000 to Columbia
                                                                                                      CIty Living LLC,
                                                                                                      $1,646,500 to Caesars
                                                                                                      Luxury Apartments LLC;
                                                                                                      $297,129 to Rise Flats
                                                                                                      LLC and $229,494.58 to
                                                                                                      close lot sale at 3120 S
                                                                                                      326th Federal Way

      Lamborghini of Seattle                               2021 Porsche Traded in for
      13617 NE 20th St                                     2023 Lamborghini
      Bellevue, WA 98005



      Frontier Ford                                        Ford F150 Sale Price                       Paid off loan balance.          1/31/2023
      12610 Thompson Rd                                    $52,000.                                   Net proceeds
      Anacortes, WA 98221                                                                             approximately $11,000



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      Person Who Received Transfer                                 Description and value of                   Describe any property or       Date transfer was
      Address                                                      property transferred                       payments received or debts     made
                                                                                                              paid in exchange
      Person's relationship to you
      Bryan and Alyssa Graf                                        Real Property located at                   $2,200,000. All secured        12-19-2022
      4719 90th Ave SE                                             4719 90th Ave, SE, Mercer                  debt was paid
      Mercer Island, WA 98040                                      Island. The property was
                                                                   purchased by Radimir and
                                                                   Ella Mandzyuk, they did not
                                                                   qualify for loan. Debtors
                                                                   co-signed on purchase loan
                                                                   and were put on title.
                                                                   Mandzyuk sold property in
                                                                   2022 and purchased new
                                                                   property. Debtors did not
                                                                   contribute to loan payments
                                                                   or other expenses of the
                                                                   property

      Harkamal SIngh Dhaliwal                                      Lot at 3820 S 326th St.                    Sale Price $350,000.           12-15-2022
      3820 S 326th St.                                             Federal Way                                Paid 424 Wealth Trust,
      Auburn, WA 98001                                                                                        Closing costs and real
                                                                                                              property taxes. No net
                                                                                                              proceeds

      Jasbir Singh                                                 Lot at 3818 S. 326th St.                   Sale Price $350,000.           12-29-2022
      3818 S 326th St.                                             Federal Way, WA                            Debtors received net
      Federal Way, WA 98001                                                                                   proceeds of $325,018.76.
                                                                                                              Debrtors contributed
                                                                                                              $205,000 to Barcelo
                                                                                                              Homes LLC; $100,000 to
                                                                                                              Coumbia City Living
                                                                                                              LLC

      Prestige Motor Group                                         2016 MBC X26 Motor Boat                    $55,000                        5/11/2023
      1825 Howard Rd                                               VIN MBCWKEN3J516
      Auburn, WA 98002



19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you are a
    beneficiary? (These are often called asset-protection devices.)
          No
      Yes. Fill in the details.
      Name of trust                                                Description and value of the property transferred                         Date Transfer was
                                                                                                                                             made

Part 8:       List of Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit, closed,
    sold, moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage
    houses, pension funds, cooperatives, associations, and other financial institutions.
     No
          Yes. Fill in the details.
      Name of Financial Institution and                      Last 4 digits of            Type of account or           Date account was            Last balance
      Address (Number, Street, City, State and ZIP           account number              instrument                   closed, sold,           before closing or
      Code)                                                                                                           moved, or                        transfer
                                                                                                                      transferred




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      Name of Financial Institution and                      Last 4 digits of               Type of account or          Date account was             Last balance
      Address (Number, Street, City, State and ZIP           account number                 instrument                  closed, sold,            before closing or
      Code)                                                                                                             moved, or                         transfer
                                                                                                                        transferred
      Umpqua Bank                                            XXXX-                           Checking                  5-11-2023                           $0.00
                                                                                             Savings
                                                                                             Money Market
                                                                                             Brokerage
                                                                                             Other

      US bank                                                XXXX-                           Checking                  Closed During                       $0.00
                                                                                             Savings                   chapter 11 for
                                                                                                                        DIP account at
                                                                                             Money Market
                                                                                                                        Chase
                                                                                             Brokerage
                                                                                             Other

21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for securities,
    cash, or other valuables?

          No
      Yes. Fill in the details.
      Name of Financial Institution                                Who else had access to it?                Describe the contents               Do you still
      Address (Number, Street, City, State and ZIP Code)           Address (Number, Street, City,                                                have it?
                                                                   State and ZIP Code)

22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?

          No
      Yes. Fill in the details.
      Name of Storage Facility                                     Who else has or had access                Describe the contents               Do you still
      Address (Number, Street, City, State and ZIP Code)           to it?                                                                        have it?
                                                                   Address (Number, Street, City,
                                                                   State and ZIP Code)

Part 9:       Identify Property You Hold or Control for Someone Else

23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for, or hold in trust
    for someone.

          No
      Yes. Fill in the details.
      Owner's Name                                                 Where is the property?                    Describe the property                          Value
      Address (Number, Street, City, State and ZIP Code)           (Number, Street, City, State and ZIP
                                                                   Code)

Part 10:      Give Details About Environmental Information

For the purpose of Part 10, the following definitions apply:

    Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of hazardous or
     toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium, including statutes or
     regulations controlling the cleanup of these substances, wastes, or material.
    Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize it or used
     to own, operate, or utilize it, including disposal sites.
    Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic substance,
     hazardous material, pollutant, contaminant, or similar term.

Report all notices, releases, and proceedings that you know about, regardless of when they occurred.




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24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

          No
      Yes. Fill in the details.
      Name of site                                               Governmental unit                             Environmental law, if you          Date of notice
      Address (Number, Street, City, State and ZIP Code)         Address (Number, Street, City, State and      know it
                                                                 ZIP Code)

25. Have you notified any governmental unit of any release of hazardous material?

          No
      Yes. Fill in the details.
      Name of site                                               Governmental unit                             Environmental law, if you          Date of notice
      Address (Number, Street, City, State and ZIP Code)         Address (Number, Street, City, State and      know it
                                                                 ZIP Code)

26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

          No
      Yes. Fill in the details.
      Case Title                                                 Court or agency                            Nature of the case                    Status of the
      Case Number                                                Name                                                                             case
                                                                 Address (Number, Street, City,
                                                                 State and ZIP Code)

Part 11:    Give Details About Your Business or Connections to Any Business

27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
            A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
            A member of a limited liability company (LLC) or limited liability partnership (LLP)
            A partner in a partnership
            An officer, director, or managing executive of a corporation
            An owner of at least 5% of the voting or equity securities of a corporation
      No. None of the above applies. Go to Part 12.
          Yes. Check all that apply above and fill in the details below for each business.
      Business Name                                        Describe the nature of the business                   Employer Identification number
      Address                                                                                                    Do not include Social Security number or ITIN.
      (Number, Street, City, State and ZIP Code)           Name of accountant or bookkeeper
                                                                                                                 Dates business existed
      Barcelo Homes, Inc.                                  Home Construction                                     EIN:       603 322 723
      2906 74th Ave. SE
      Mercer Island, WA 98040                                                                                    From-To    9-11-2-13 - Current

      Sorento on Yesler Owner LLC                          Real Estate                                           EIN:       604 358 595
      1414 E Yesler
      Seattle, WA 98122                                                                                          From-To    4/8/2021 - Current

      Rise on Flats LLC                                    Real Estate                                           EIN:       604 022 499
      829 NE 67th St.
      Seattle, WA 98115                                                                                          From-To    4-5-2023 to Current

      Caesars Luxury Apartments LLC                        Real Estate                                           EIN:       604 658 814
      1414 E Yesler Way Ste A
      Seattle, WA 98122                                                                                          From-To    9/2/2020 to Current

      Columbia City Living LLC                             Real Estate                                           EIN:       604 534 097
      1414 E Yesler Way, Ste A
      Seattle, WA 98122                                                                                          From-To    11/7/2019 to Current

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Debtor 1     Bogdan Maksimchuk
Debtor 2     Nadezhda Maksimchuk                                                                       Case number (if known)   23-10885

      Business Name                                        Describe the nature of the business               Employer Identification number
      Address                                                                                                Do not include Social Security number or ITIN.
      (Number, Street, City, State and ZIP Code)           Name of accountant or bookkeeper
                                                                                                             Dates business existed
      Premium Homes of Mercer Island                       Real Estate                                       EIN:         603 438 959
      LLC
      1414 E Yesler Way, Ste A                                                                               From-To      9/25/2014 - Current
      Seattle, WA 98122

      The Usual LLC                                        Restaurant                                        EIN:         604 866 963
      1414 E Yesler Way #B
      Seattle, WA 98122                                                                                      From-To      2/3/2022 to Current

      VEROMANAGEMENT LLC                                   Property Management                               EIN:         604 636 283
      1414 E. Yesler Way Ste A
      Seattle, WA 98122                                                                                      From-To      7/20/2020 - Current

      3120 Harvard LLC                                     Real Estate                                       EIN:         604 274 798
      POB 1639
      Mercer Island, WA 98040                                                                                From-To      4/19/2018 - 9/30/2021


28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
    institutions, creditors, or other parties.

          No
      Yes. Fill in the details below.
      Name                                                 Date Issued
      Address
      (Number, Street, City, State and ZIP Code)




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Debtor 1     Bogdan Maksimchuk
Debtor 2     Nadezhda Maksimchuk                                                              Case number (if known)   23-10885


Part 12:    Sign Below

I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the answers
are true and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud in connection
with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
18 U.S.C. §§ 152, 1341, 1519, and 3571.

/s/ Bogdan Maksimchuk                                       /s/ Nadezhda Maksimchuk
Bogdan Maksimchuk                                           Nadezhda Maksimchuk
Signature of Debtor 1                                       Signature of Debtor 2

Date     October 11, 2023                                   Date     October 11, 2023

Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?
 No
 Yes
Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
 No
 Yes. Name of Person         . Attach the Bankruptcy Petition Preparer's Notice, Declaration, and Signature (Official Form 119).




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